AO 93C (08118) Warrant by Telephone or Other Reliable ElectroIric Means                  o Original

                                           UNITED STATES DISTRICT COURT
                                                                             for the
                                                               Eastern District of Wisconsin

                  In the Matter of the Search of                                )
              (Briefly describe the property to be searched                     )
               or identify the person by name and address)                      )      Case No.   21-M-400 (SeD)
       The use of a cell-site simulator to locate the                           )
           cellular device assigned with Vehicle                                )
      Identification Number 1C4SDJH98MC643044                                   )

                  WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:        Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located in the           Eastem             District of               Wisconsin
(identify the person or describe the property to be searched and give its location):
  See Attachment A.




         I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




                                                                                                  6-1-21
           YOU ARE COMMANDED to execute this warrant on or before                                         (not to exceed 14 days)
       o   in the daytime 6:00 a.m. to 10:00 p.m. 0 at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                          Stephen C. Dries               _
                                                                                                      (United States Magistrate Judge)

     ~ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     ~ for ~       days (not to exceed 30) 0 until, the facts justifying, the later specific date of


Date and time issued:
                                   5-18-21. 1:25 pm
                                                                                       -~j~h:,,,~;~
City and state:              Milwaukee, WI                                                   Stephen C. Dries, u.S. Magistrate Judge
                                                                                                            Printed name and title
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                                                                                 Return
Case No.:                                Date and time warrant executed:                                  Copy of warrant and inventory left with:
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Inventory made in the presence of :                    I
                                               NIt:!
Inventory of the property taken and name(s) of any person(s) seized:



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                                                                              Certification


         I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.




                                                                                                                  Executing   officer's signature



                                                                                                                       Printed name and title
                                 A'ITACHMENT A

      This warrant authorizes the use of the electronic investigative technique

described in Attachment B to identify the location of the cellular device assigned

with Vehicle Identification Number (VIN) lC4SDJH98MC643044 ("the SUBJECT

ACCOUNT"), whose wireless provider is AT&T Corporation, and whose listed

subscriber is unknown.
                                  A'ITACHMENT B

      Pursuant to an investigation of Shaft A. DARBY for violations of 21 U.S.C.

§§ 841(a)(1), 841(b)(I)(C), and 860(a); 18 U.S.C. §§ 924(c) & 2(a); and 18 U.S.C.

§§ 922(g)(I) & 924(a)(2), this Warrant authorizes the officers to whom it is directed

to determine the location of the SUBJECT ACCOUNT identified in Attachment A

by collecting and examining:

   1. radio signals emitted by the SUBJECT ACCOUNT for the purpose of

      communicating with cellular infrastructure,    including towers that route and

      connect individual communications; and

   2. radio signals emitted by the target cellular device in response to radio signals

      sent to the cellular device by the officers;

for a period of thirty days, during all times of day and night. This warrant does not

authorize the interception of any telephone calls, text messages, other electronic

communications, and this warrant prohibits the seizure of any tangible property.

The Court finds reasonable necessity for the use of the technique authorized above.

See 18 U.S.C. § 3103a(b)(2).
